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                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA


JANE DOE 1,                                 Civil Action No. 1:19-CV-03840-
                                            WMR
                 Plaintiff,

      v.

RED ROOF INNS, INC.; VARAHI
HOTEL, LLC; FMW RRI NC, LLC;
WESTMONT HOSPITALITY GROUP,
INC. WHG SU ATLANTA LP; SUB-
SU HOTEL GP, LLC; CHOICE
HOTELS INTERNATIONAL, INC.; LQ
PROPERTIES, LLC; CPLG
PROPERTIES, LLC; BRE/LQ
PROPERTIES, LLC; LA QUINTA
WORLDWIDE, LLC; EXTENDED
STAY AMERICA, INC.; ESA
MANAGEMENT, LLC; ESA P
PORTFOLIO, LLC; ESA P
PORTFOLIO OPERATING LESSEE,
LLC; JOHN DOES 1-10,

                 Defendants.

     ORDER GRANTING STIPULATION AND ORDER VACATING
     CLERK’S ENTRY OF DEFAULT AS TO DEFENDANTS BRE/LQ
        PROPERTIES, LLC, CPLG PROPERIES, LLC, AND LQ
                      PROPERTIES, LLC

     Before the Court is the parties’ Stipulation and Order Vacating Clerk’s Entry

of Default as to Defendants BRE/LQ Properties, LLC, CPLG Properties, LLC, and
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LQ Properties, LLC. The Court concludes that good cause exists to GRANT the

parties’ Stipulation. The Clerk shall vacate the Entry of Default as to the CPLG

Defendants, and the CPLG Defendants’ responsive pleadings to Plaintiff’s

Complaint shall be due on October 31, 2019.

      SO ORDERED this 1st day of October, 2019.



                                      Hon. William M. Ray
                                      United States District Court Judge
